
Turney, J.,
delivered the opinion of the court.
The Act of 1869-70, ch. 64, is a modification of sections of the Code 3360 to 3363 inclusive, so that when in an action of forcible entry and detainer, or of forcible detainer, there is judgment for the plaintiff and writ of possession executed, the defendant is entitled to an appeal, on taking the oath prescribed for poor persons.
The policy of the older law was to secure to the plaintiff, should he be successful, rents and profits during the time he was kept out of possession pending the appeal.
The change of the law authorizing a writ of possession, as in the late act, is smply a substitution of *125one security for another; that is, the land itself in lieu of a bond for rents and profits.
Reverse the judgment and remand the cause.
